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2
3
4
                         UNITED STATES DISTRI CT CO URT
5
                  FOR THE EASTERN DISTRICT OF C ALIFORNIA
6
7
      COALITIO N FOR A SUST AINABLE            1:09-CV- 480 OWW GSA
8     DELTA, e t al.
                                               MEMORANDUM DEC ISION AND
9                       Plaint iffs,           ORDER GRANTING FEDER AL
10                                             DEFENDANTS’ MO TION F OR
                 v.                            SEVERENCE (DOC . 79)
11
      UNITED S TATES FISH A ND
12    WILDLIFE SERVICE, et al.,
13                      Defend ants.
14
15                               I. INTRODUCTION
16          Plaintif fs, Coalitio n for a Sustainable Delta and
17    Kern Cou nty Water Ag ency, filed a second amended
18
      complain t (“SAC”) on July 23, 2009, Doc. 75, adva ncing
19
      six grou ps of claims :
20
        •   Claims 1 -5 against t he U.S. Fish & Wildlife Servi ce
21
            (“FWS”).     These clai ms challenge FWS’s December 1 5,
22
23          2008 Bio logical Opin ion (“2008 BiOp”) for Coordin ated

24          Operatio ns of the Ce ntral Valley Project and Stat e

25          Water Pr oject under the Endangered Sp ecies Act
26          (“ESA”) and the Admi nistrative Procedure Act (“AP A”).
27
            SAC ¶¶ 7 5-127.     Thes e cla ims were consolida ted with
28
                                           1
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1           claims f rom related cases challenging the 2008 Bi Op
2           in the D elta Smelt C onsolidated Cases, 1:09-cv-00 407.
3
        •   Claims 6 -7 against the U.S. Environmental P rotect ion
4
            Agency ( “EPA”).      The se claims allege that EPA
5
            register ed 16 active pesticide ingredients under the
6
            Federal Insecticide, Fungicide, and Rodenticide A ct
7
8           (“FIFRA” ) in violati on of the ESA.           SAC ¶¶ 128-58 .

9       •   Claims 8 -10 against the Maritime Admi nistration

10          (“MARAD” ).    These cl aims allege ESA violations
11          relating to MARAD’s alleged maintenance of Nation al
12
            Defense Reserve Flee t vessels at Suisun Bay and t he
13
            preparat ion of a man agement plan for disposal of non-
14
            retentio n vessels.       SAC ¶¶ 155-76.
15
        •   Claims 1 1-13 a gainst FWS.        These claims all ege ESA
16
17          violatio ns relating to FWS’s provision of funding to

18          the Cali fornia Depar tment of Fish and Game under the
19          Federal Aid in Sport Fish Restoration Act.               SAC ¶ ¶
20
            177-95
21
        •   Claims 1 4-16 a gainst the Federal Emergency Manage ment
22
            Agency ( “FEMA”).      Th ese claims allege ESA violati ons
23
            relating to FEMA’s a dministration of the National
24
25          Flood In surance Prog ram in the Sacramento-San Joaquin

26          Delta.    SAC ¶¶ 196-221.

27      •   Claims 1 7-18 a gainst the U.S. Army Corps of Engineers
28
                                           2
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1          (“Corps” ) and FWS.        These claims allege ESA and A PA
2          violatio ns by the Co rps and FWS relating dredging
3
           activiti es at the Po rt of Stockton.            SAC ¶¶ 222-40.
4
           On Augus t 14, 2009, Federal Defendants moved to s ever
5
      and dism iss, without prejudice, Claims 6-7 against EPA ,
6
      Claims 8 -10 against MARAD, and claims 14-16 against FE MA
7
8     from the remaining c laims against FWS and the Cor ps

9     pursuant to Fed. R. Civ. P. 20(a) and 21.               Plaint iffs

10    opposed on September 14, 2009, Doc. 87, and Defen dants
11    replied on September 25, 2009, Doc. 91.
12
           The Corp s and FWS se parately moved to dismiss Cla ims
13
      11-13 and 17-1 8 for lack of subject matter jurisdiction
14
      Doc. 82.     That motio n was set for hearing on Nove mber 23,
15
      2009.    H owever, on O ctober 27, 2009, the parties
16
17    stipulat ed to the dismiss al of Claims 11-13 and 17-18.

18    Doc. 96.     FWS and th e Corps also withdrew their m otion to
19    dismiss Claims 11-13 and 17-18, as th ose claims a re no
20
      longer p art of this litigation.           See Doc. 9 7.      Th e
21
      parties stipulated t o the dismissal of Plaintiffs ’ claims
22
      against EPA in Count s 6-7 of the SAC relating to 13 of
23
      the 16 c hallenged pe sticide registration decision s, as
24
25    well as part of Plai ntiffs’ claims relating to on e

26    addition al pesticide registration decision.               See Doc. 96.

27         Plaintif fs’ lawsuit now consists of t he fol lowing
28
                                           3
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1     claims:
2       •   Claims 1 -5 challengi ng FWS’s 2008 BiOp (SAC ¶¶ 75-
3
            127).    T hese claims have been consolidated with
4
            related claims in th e Delta Smelt Consolidated Ca ses,
5
            1:09-cv- 00407.
6
        •   Claims 6 -7 challengi ng EPA’s registration of thre e
7
8           active p estici de ing redie nts (propanil, SAC ¶148;

9           cypermet hrin, SAC ¶1 52; and permethrin based on t he

10          alleged effects on l isted salmonids only, SAC ¶15 3).
11          These cl aims are rel ated to another pending lawsu it,
12
            Center f or Biologica l Diversity v. EPA, 3:0 7-cv-02794
13
            (N.D. Cal. filed May 30, 2007)(“CBD”) .             That case
14
            involves a challenge to EPA’s registr ation or re-
15
            registra tion of 74 p esticide active ingredients, and
16
17          their al leged effect s on eleven listed species,

18          includin g delta smel t.
19      •   Claims 8 -10 against MARAD (SAC ¶¶ 155-76).              These
20
            claims a re related t o another pending case, Arc
21
            Ecology v. MARAD, 2:07-cv-023 20 GEB GGH (E.D. Cal.
22
            filed Oc t. 29, 2007) .       Arc Ecology is a challenge to
23
            MARAD’s maintenance and disposal plan for the non-
24
25          retentio n of vessels in Suisun Bay under th e National

26          Environm ental Policy Act (“NEPA”), the Resource

27          Conserva tion and Rec overy Act (“RCRA”), Californi a’s
28
                                           4
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1           Hazardou s Waste Cont rol Law, and the Clean Water Act
2           (“CWA”), but not the ESA.
3
        •   Claims 1 4-16 a gainst FEMA (SAC ¶¶ 196-221).
4
      See Doc. 96.
5
6                           II. STANDARD OF RE VIEW
7           The join der of claim s against multiple defendants in
8     a single action is g overned by Federal Rule of Ci vil
9
      Procedur e 20(a), whi ch provides that “persons ... may be
10
      joined i n one action as defendants if”:
11
                 (A) any right to rel ief is asserted against them
12               jointly, severally, or in the alternative with
                 respect to or arisin g out of the same
13
                 transact ion, occurre nce, or series of
14               transact ions or occu rrences; and

15               (B) any question of law or fact common to all
                 defendan ts will aris e in the action.
16
      Fed. R. Civ. P. 20(a )(2)(emphasis added).              The permissive
17
18    joinder rule “is to be construed liberally in ord er to

19    promote trial conven ience and to expedite the fin al

20    determin ation of dis putes, thereby preventing mul tiple
21    lawsuits .”    Le ague to Save Lake Tahoe v. Ta hoe Reg’l
22
      Planning Agency, 558 F.2d 914, 917 (9th Cir. 1997).                  The
23
      purpose of Rule 20(a ) is to address the “broadest
24
      possible scope of ac tion consistent with fairness to the
25
      parties; joinder of claims, parties and remedies is
26

27    strongly encouraged.”         United Mine Workers of Am. v.

28    Gibbs, 3 83 U.S . 715, 724 (1966).
                                    5
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1          “The fir st of these, the common question test, is
2     usually easy to sati sfy.”         Bridgepoat Music , Inc. v. 1 1C
3
      Music, 2 02 F.R .D. 229, 231 (M.D. Tenn. 2001 )(citi ng 4
4
      James Wm . Moore et a l., Moore’s Feder al Practice, ¶20. 04
5
      (3d ed. 1999)).         “Th e transactional test, however , is
6
      more for bidding.        It requires that, to be joined, parties
7
8     must ass ert rights, or have rights asserted again st them,

9     that ari se from rela ted activities-a transaction or an

10    occurren ce or a seri es thereof.”           Id. (inte rnal c itati ons
11    omitted) .     Because t his test “does not lend itsel f to
12
      bright l ine rules, i t generally requires a case b y case
13
      analysis .”     Id .
14
           If the t est for perm issive joinder is not satisfi ed,
15
      a court, in its discretio n, may sever the m isjoin ed
16
17    parties, so long as no substantial right will be

18    prejudic ed by the se verance.           Coughli n v. Rogers, 130
19    F.3d 134 8, 1350 (9th Cir. 1997).            In such a case the
20
      court ca n generally dismiss all but the first nam ed
21
      plaintif f without prejudice to the institut ion of new,
22
      separate lawsuits by the dropped plaintiffs “agai nst some
23
      or all o f the presen t defendants based on the cla ims or
24
25    claims a ttempted to be set forth in the present

26    complain t.”     I d.

27
28
                                           6
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1                                 III. ANALYSIS.
2          Federal Defendants m ove to se ver from the 2008 OCAP
3     BiOp cla ims (Claims 1-5), the remaining portions of
4
      Claims 6 and 7 again st the EPA’s registrati on of certa in
5
      pesticid e active ing redients, Claims 8-10 against MARA D
6
      concerni ng maintenan ce and disposal of vessels at Suisun
7
      Bay, and Claims 14-16 challenging FEM A’s ad ministratio n
8
9     of the N ational Floo d Insurance Program in the De lta.

10    Doc. 79.     Federal De fendants argue (1) that these claims

11    do not a rise out of the same transaction or occur rence as
12    the BiOp claims, (2) joinder does not promo te convenience
13
      or effic iency, and ( 3) the misjoined claims shoul d be
14
      dismisse d without pr ejudice.           Id.
15
           At the h eart of Plai ntiffs’ argument for jo inder is
16
      the undi sputed propo sition that a “long list of
17
18    stressor s” affect th e delta smelt.           See 2008 Smel t BiO p

19    at 189, 203.      Plaint iffs maintain, therefore, tha t all of
20    the clai ms joined in this suit are “logically rel ated”
21
      because they “all re late[] to the decline of the delta
22
      smelt an d harm to it s designated critical habitat , all
23
      involve violations o f the [ESA], and share questi ons of
24
      both law and fact in common, and all would result in
25
26    consulta tion with [F WS],” if resolved in Plaintif fs’

27    favor.     Doc. 87 at 2 .

28
                                           7
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1     A.   Do All o f the Claims Arise Out of the Same
           Transact ion Or Occur rence?
2
           The firs t requirement of permissive joinder is th at
3
      any join ed claims “aris[e ] out of the same transa ction ,
4
5     occurren ce, or serie s of transactions or occurren ces.”

6     Fed. R. Civ. P. 21(a )(2).         The Ninth Circuit defines the

7     term “tr ansaction or occurrence” to mean “similar ity in
8     the fact ual backgrou nd of a claim.”           Bautista v. Los
9
      Angeles County, 216 F.3d 837, 842-43 (9th Cir.
10
      2000)(ci ting C oughlin, 130 F.3d at 13 50).             Claims that
11
      “‘arise out of a sys tematic pattern of events’ ar ise f rom
12
      the same transaction or occurrence.”              Id.    Plaintiffs
13
14    assert t hat the vari ous claims against Federal De fendants

15    arise ou t of the sam e transaction or occurrence b ecause

16    “the thr ust of [each ] claim ... is that each of t he
17    federal agency’s act ions or approvals has contrib uted to
18
      the decl ine of the d elta smelt.”          Doc . 87 a t 2.
19
           The case law provides some guidance.               In Cou ghlin, for
20
      example, 49 plaintif fs alleged that the Immigrati on and
21
22    Naturali zation Servi ce (“INS”) unreasonably delay ed

23    plaintif fs’ separate applications and petitions i n

24    violatio n of t he APA and the U.S. Constitution.               130 F.3d
25    at 1349.     The Ninth Circuit affirmed the district court’s
26
      conclusi on that the claims did not satisfy the “s ame
27
      transact ion” require ment:
28
                                           8
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1                The firs t prong, the “same transaction”
                 requirem ent, refers to similarity in the factual
2                backgrou nd of a clai m. In this case, the basic
                 connecti on among all the claims is the alleged
3                procedur al problem o f delay. However, the mere
                 allegati on of genera l delay is not enough to
4                create a common tran saction or occurrence. Each
                 Plaintif f has waited a different length of time,
5                sufferin g a differen t duration of alleged delay.
                 Furtherm ore, the del ay is disputed in some
6                instance s and varies from case to case. And,
                 most imp ortantly, th ere may be numerous reasons
7                for the alleged dela y. Therefore, the existence
                 of a com mon allegati on of delay, in and of
8                itself, does not suf fice to create a common
                 transact ion or occur rence.
9
      Id. at 1 350.
10
           In contr ast, in Bautista, whe re each member of a
11
12    large gr oup of plain tiffs lost his or her job at the same

13    time due to the same merger, the clai ms arose fro m the

14    same tra nsaction or occurrence; i.e., the merger that
15    caused j obs to be lo st.        216 F.3d at 843.       Similarly, in
16
      Mosley v . Gen. Motor s Corp., 497 F.2d 1330, 1333 (8th
17
      Cir. 197 4), on which Plaintiffs rely, claim s brou ght b y
18
      ten plai ntiffs alleg ing they had been injured by a
19
      company- wide policy designed to discr iminate against
20

21    African Americans “ar[o]se out of the same series of

22    transact ions or occu rrences,” a racially discrimi natory

23    workplac e.     Id . at 1333-34. 1
24
25    1
        Plainti ffs emphasiz e that Mosely applied a “logi cal
      relation ship” test t o Rule 20(a) permissive joind er.
26    Mosely, an Eighth Ci rcuit case, looked to S upreme Cour t’s
      interpre tation of “t ransaction or occurrence” in the
27    related context of R ule 13 (counterclaims). Moore v. New
      York Cot ton Exchange, 270 U.S . 593, 610 (1926), h eld that
28    “‘Transa ction’ is a word of flexible meaning. It may
                                     9
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1           Federal Defendants’ also rely on Golden Sco rpio Corp.
2     v. Steel Horse Bar & Grill, 5 96 F. Supp. 2d 1282, 1285
3
      (D. Ariz . 2009), whi ch held that claims alleging multiple
4
      defendan ts infringed upon a trademark were improp erly
5
      joined u nder Rule 20 (a) because the circums tances of e ach
6
      infringe ment were di fferent.          Despite the fact th at the
7
8     same tra demark was i nvolved, misjoinder existed b ecause

9     the clai ms of unlawf ul activity against one defen dant

10    were “se parate and d istinct from the allegedly im proper
11    acts of any of the other defendants.”               Id.   Similarly, in
12
      Movie Sy stems Inc. v . Abel, 9 9 F.R.D. 129 (D.C. Minn.
13
      1983), a distributor of television programs filed 18
14
      similarl y worded com plaints, each naming approxim ately
15
      100 defe ndants, for a total of almost 1,800 defendants
16
17    accused of pirating its television programming.                  The

18    claims w ere severed because “[t]here is no claim that the
19    alleged pirating ... was done other than independ ently by
20
      each of the 1795 def endants.”           Id. at 130.
21
            Plaintif fs attempt t o distinguish Gol den Scorpio,
22
      Movie Sy stems, and a similar unpublished case, In Re
23
      comprehe nd a series of many occurrences, dependin g not so
24    much upo n the immedi ateness of their connection a s upon
      their lo gical relati onship.” Mosley reasoned tha t “[t ]he
25    analogou s interpreta tion of the terms as used in Rule 20
      would pe rmit a ll reasonably related claims for relief by
26    or again st different parties to be tried in a sin gle
      proceedi ng.” Id. at 1333. Plaintiffs poin t to n o
27    analogou s cases that have fou nd any “logical” or
      “reasona ble” relatio nship between claims such as those in
28    the SAC.
                                    10
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1     DIRECTV, Inc., 2004 WL 2645971 (N.D. Cal. July 6, 2004 ),
2     on the g round that t hese claims concerned torts o r
3
      alleged violations o f statutory rights “such that only
4
      concerte d action by Defen dants ... would sa tisfy the
5
      logical relation sta ndard.”          Id. at 16.      In contr ast,
6
      Plaintif fs argue, th e SAC alleges “each Defendant ’s
7
8     action i s contributi ng to the decline of the delt a smelt

9     and the ecological h ealth of the Delta itself.”

10          Plaintif fs’ su ggestion is that claims may meet th e
11    “transac tion or occu rrence” requirement merely be cause
12
      each, di stinct feder al action adverse ly imp acts t he de lta
13
      smelt.     As in Coughlin, w here a “basic connection ”
14
      between the claims w as insufficient, each allegedly
15
      unlawful agency acti on affecting the smelt is lar gely
16
17    distinct from the ot hers.          Claims 1-5 conce rn FWS ’s

18    evaluati on of the co ordinated operation of the Ce ntral
19    Valley P roject (“CVP ”) and State Water Project (“ SWP”),
20
      one of t he most comp lex water storage and delivery
21
      systems in the world .
22
            Claims 6 -7 challenge the registration of pesticid es
23
      for use in the Delta region, each of which has co mplex
24
25    chemical interaction s with the environment.               The effect

26    of pesti cides used i n the Delta has no relationsh ip to

27    coordina ted Project operations.            It may have a ne gative
28
                                           11
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1     effect o n the smelt, but whether this was inadequ ately
2     consider ed in the Bi Op (or in the context of MARA D or
3
      FEMA’s c hallenged de cisions) is entirely determin able
4
      without examining th e efficacy of the registration.
5
            Claims 8 -10 address the storage and disposal of s hips
6
      within t he Delta, a type of agency action claimed to
7
8     result i n discharges of toxic rust, paint, and ot her

9     substanc es.     Another case is addressing the lawfu lness of

10    the ship retentions and disposals.              R esolut ion of the
11    Consolid ated Delta S melt Cases does not depend on the
12
      lawfulne ss of EPA’s, FEMA’s, or MARAD’s actions.                 Rather,
13
      it depen ds on whethe r FWS failed to evaluate the effects
14
      of such actions on t he smelt as related to the Pr oject s’
15
      coordina ted operatio ns, if such evidence exists i n the
16
17    Smelt Bi Op administr ative record.

18          Claims 1 4-16 c oncern admi nistration of the National
19    Flood In surance Prog ram, which implicates land us e and
20
      developm ent issues i n and around the Delta, yet a nother,
21
      entirely different s ubject matter from Proj ect
22
      operatio ns.     A lthough these claims share the “basic
23
      connecti on” that eac h federal action occurs in th e del ta
24
25    watershe d and causes adverse impacts to the delta smel t

26    in some way, the age ncy actions themselves are di stinc t

27
28
                                           12
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1     from coo rdinated Pro ject operations. 2           Such land use an d
2     developm ent effects can be considered without dec iding
3
      whether the actions can lawfully continue.
4
            Plaintif fs suggest a n alternative reason why
5
      permissi ve joinder i s appropriate here, arguing that F WS
6
      “as the common consu lting agency” has an obligati on to
7
8     “address the underly ing nexus of stressors on the Delta

9     ecosyste m.”     I t is undisputed that a wide variety of

10    “stresso rs” affect t he delta smelt and its critic al
11    habitat.     For the pu rpose s of this motion, it is presumed
12
      true tha t each of th e challenged government actio ns
13
      (i.e., E PA’s pestici de approvals, MARAD’s mainten ance and
14
      disposal of vessels at Suisun Bay, and FEMA’s
15
      administ ration of th e National Flood Insurance Pr ogram in
16
17    the Delt a), operate as stressors to the delta sme lt.

18          Plaintif fs are corre ct that, under the ESA, Feder al
19    Defendan ts are oblig ated to consider the effects of any
20
      proposed federal act ion in light of the environme ntal
21
      baseline , 16 U.S.C. § 1536; 50 C.F.R. § 402.02, a nd th at
22
      any past and current federal actions form part of the
23
24    2
        Plainti ffs attempt to distinguish Coughlin on the
      ground t hat joinder was not permitted there becau se the
25    general allegations of delay were insufficient. Here, in
      contrast , the SAC specifi cally allege s how each
26    challeng ed federal a ction contributes to the decl ine of
      the smel t. But, spe cificity was not the central issue in
27    Coughlin . Rather, t he focus was on the differing
      circumst ances underl ying each alleged defendant’s
28    situatio n. Se e 130 F.3d at 1350.
                                    13
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1     environm ental baseli ne, 50 C.F.R. § 402.02 (“The
2     environm ental baseli ne includes the past and pres ent
3
      impacts of all Feder al, State, or private actions and
4
      other hu man activiti es in the action area.” ). FWS must
5
      evaluate individual federal action under the ESA in light
6
      of the e nvironmental baseline, which analysis mus t
7
8     consider all stresso rs impacting the delta smelt.                    It is

9     also tru e that a bod y of scientific literature po ints

10    toward a “new paradigm” in which the Delta should be
11    understo od and manag ed as an integrated system.
12
            Undoubte dly, in unde rstanding and evaluating each
13
      individu al activity, all others must be considere d.
14
      Neverthe less, each a ctivity is separate and disti nct, and
15
      plaintif fs poi nt to no statute, regulation, guidance, or
16
17    other so urce of lega l authority that required FWS to do

18    more tha n consider t he environmental baseline and all
19    then-exi sting conditions that jeopardized t he del ta sm elt
20
      and adve rsely affect ed its critical habitat.               FWS, as the
21
      consulti ng agency un der the ESA, does not “manage ” the
22
      complain ed-of activities.          The ESA only requires that FWS
23
      evaluate the impacts on listed species of the eac h
24
25    particul ar fed eral a ction in light of other , known

26    stressor s.     Each activity is a separate tra nsacti on or

27    occurren ce that must be evaluated in light of the others.
28
                                           14
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1           The dist rict court’s holding in Prese rve Ou r Island
2     v. U.S. Army Corps o f Eng’rs, 2009 WL 2511953 (W. D. Wash.
3
      Aug. 13, 2009), does not require FWS to manage al l
4
      stressor s on a parti cular species in a coordinate d
5
      manner.     Plaintiffs in Preserve Our Island allege d tha t
6
      the issu ance of a pe rmit by the Corps for the
7
8     construc tion of a fa cility on the shore of an isl and in

9     Puget So und violated NEPA and the ESA.              After finding the

10    ESA and NEPA reviews of the project insufficient on
11    numerous grounds, th e district court concluded:
12
                  Which ra indrop cause d the flood?” With those
13                closing words (and d ue credit to the author),
                  plaintif fs at oral a rgument expressed the
14                central issue here. No single project or human
                  activity has caused the depletion of the salmon
15                runs, th e near-extin ction of the SR Orca, o r the
                  general degradation of the marine environment of
16
                  Puget So und. Yet eve ry project has the potential
17                to incre mentally inc rease the burden upon the
                  species and the Soun d. Human development will
18                always h ave some imp act on the surrounding
                  environm ent. The Cou rt fully recognizes the
19                desirabi lity and eco nomic necessity of
                  industri al progress in order for a community to
20
                  flourish . However, under the National
21                Environm ental Policy Act and the Endangered
                  Species Act, it is t he federal agencies’
22                obligati on to ensure that this progress does not
                  cause ir reversible h arm to the environment.
23                Thus, NE PA provides a mandate to the agencies
                  “to cons ider every s ignificant aspect of the
24                environm ental impact of a proposed action”, and
25                “to info rm the publi c that it has indeed
                  consider ed environme ntal concerns in its
26                decision making proce ss.” Baltimore Gas & Elec.
                  Co. v. N atural Res. Def. Council, Inc., 462 U.S.
27                87, 97 ( 1983). It is then this Court’s role to
                  ensure t hat the agen cies have taken that
28
                                           15
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1                 requisit e “hard look ” at the environmental
                  conseque nces for the proposed project. Metcalf
2                 v. Daley , 214 F.3d [ 1135,] 1141 [(9th Cir.
                  2000)]. Having revie wed the record, the Court
3
                  finds th at hard look at environmental
4                 conseque nces lacking .

5     Id. at * 20.

6           This gen eral languag e from Preserve Our Isl and do es
7     not esta blish the re view standard Plaintiffs seek .
8
      Preserve Our Island did not address t he iss ue of joind er,
9
      nor does it suggest that the hard look at the age ncy
10
      action s ubsumes othe r federal actions that impact the
11
12    species, but are not the subject of the BiOp.                 Li kewise,

13    Preserve Our Island did not involve m ultipl e federal

14    actions or address a ny other issue presented here.                   Wh at
15    Preserve Our Island stands for is tha t FWS must take a
16
      hard loo k at the coo rdinated CVP-SWP operat ions change s
17
      and thei r impact on listed species.             The addition al
18
      complain ed of action s may well be within the
19
      environm ental baseli ne and subject to close scrut iny and
20

21    analysis , but reques ts for relief regarding these other

22    actions are not reas onably part of the relief sou ght in

23    the Cons olidated Del ta Smelt Cases, to invalidate the
24    BiOp and to cause it to be reissued by FWS.
25
            The clai ms against E PA, M ARAD , and FEMA are not part
26
      of the s ame transact ion or occurrence as the coordinat ed
27
      Project operations in the Consolidate d Delt a Smelt Cas es.
28
                                           16
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1     Each act ion agency i s separately charged with a d uty to
2     ensure i ts own actio ns do not jeopardize the delt a sme lt
3
      and/or i ts critical habitat.           Other than requirin g
4
      evaluati on of impact s of other federal agency act ion in
5
      defining an accurate and comprehensive environmen tal
6
      baseline , the law do es not require joinder in the same
7
8     case of all federal actions that oper ate as stressors

9     upon the smelt to de cide if such actions are unla wful or

10    should b e abated.
11
      B.    Do the C laims Involv e the Same Questions of Law o r
12          Fact?
13          “[T]he m ere fact tha t all Plaintiffs’ claims arise
14
      under th e same gener al law does not necessarily establish
15
      a common question of law or fact.”              Coughli n, 130 F.3d
16
      1351.    W here claims require significant “individu alized
17
      attentio n,” they do not involve “common questions of law
18
19    or fact. ”     Id.   Each set of claims in the SAC alleges

20    unrelate d actions by different agencies that have

21    differen t effects:       pesticides, vessel storage, f lood
22
      insuranc e, etc.      Alt hough the claims share some f actual
23
      connecti on in that e ach federal action is alleged to have
24
      contribu ted to the d ecline of the delta smelt,
25
      determin ing and potentially remedying the lawfulness o f
26

27    each age ncy action w ill require review of vastly

28    divergen t informatio n and consequences, which do no have
                                    17
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1     common f actual or le gal issues.           The claims do no t
2     involve common quest ions of law or fact.
3
4     C.    Would Se verance Prejudice a Substantial Right?

5           Where th e test for p ermissive joinder is not

6     satisfie d, a court m ay, in its discretion, sever the

7     misjoine d parties as long as no substantial right would
8     be preju diced by the severance.            See Fed. R. Civ. P. 2 1;
9
      Coughlin , 130 F.3d at 1350.          Plaintiffs do not ha ve a
10
      right to force the F ederal Defendants to take action
11
      against all the alle ged stressors on the Delta smelt in a
12
      single l awsuit, give n the resulting complexity,
13
14    dissimil arities, and delay that will attend such

15    litigati on.     P laintiffs have not esta blished that

16    severanc e will preju dice any of their substantial rights
17    as each alleged stre ssor can be examined in the
18
      Consolid ated Delta S melt Cases to determine their
19
      separate and combine d effect on the species and i ts
20
      habitat, if th e evidence to do so is in the record.
21
22    Continue d joinder of other agency action claims m ay

23    unduly c omplicate an d delay the smelt cases, whic h the

24    parties have sought to expedite.
25
      D.    Would Jo inder Serve the Purposes of Convenience
26          and/or E fficiency?
27          Maintain ing all of t he alleged claims in one laws uit
28
                                           18
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1     will be unwieldy.        T he docket in an APA or ESA lawsuit
2     challeng ing a single agency action is always comp lex,
3
      sometime s cons ists o f hun dred s, if not thousands of
4
      entries.      Joining fo ur separate, and differ ent, a gency
5
      actions in a single case will make it unduly burd ensome
6
      to keep track of rel evant filings, motions, and
7
8     deadline s.     Even if these claims had met the test for

9     permissi ve joinder, keepi ng the cases separ ate is

10    preferab le for effec tive case management an d
11    administ rative effic iency.
12
            Plaintif fs are incor rect that all four clai ms will
13
      involve a single adm inistrative record and/or rel ated
14
      discover y.     As a gen eral rule, judicial review of agency
15
      action i s limited to the “whole record or those o f it
16
17    cited by a party.”        5 U.S.C. § 706. 3       Each s eparat e

18    agency a ction will h ave a separate administrative record.
19    Although there may b e some overlap if similar inf ormation
20
      about th e smelt was before each agency at the tim e of its
21
      decision (or non-decision ), each record wil l incl ude
22
      extensiv e, unique, u nrelated information about th e
23
24    3
        Washing ton Toxics C oal. v. EPA, 413 F.3d 1 024, 1 034
      (9th Cir . 2005), hel d that the APA’s “final agenc y
25    action” requirement did not apply to cases brough t under
      the ESA’ s citizen su it provision because that pro visio n
26    contains its own wai ver of sovereign immunity.
      Washingt on Toxics does no t address the scop e and standard
27    of revie w, which is undisputably governed by the APA.
      Tribal V illage of Ak utan v. Hodel, 869 F.2d 1185, 1193
28    (9th Cir . 1988) .
                                    19
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1     differen t agency act ion in question.            Moreover, i f
2     discover y is availab le at all, it is unlikely to be
3
      extensiv e, as extra- recor d evidence is disc ourage d in
4
      administ rative revie w cas es. Southwest Cent er for
5
      Biologic al Diversity v. United States Forest Serv ice, 100
6
      F.3d 144 3, 1450 (9th Cir. 1996).
7
8
      E.    Should t he Misjoined Claims Be Severed and Allowe d to
9           Proceed Separately o r Should they be Dismissed
            Without Prejudice?
10
            Rule 21( a) pro vides that misjoinder is “not a gro und
11
      for dism issing an ac tion.”         Fed. R. Civ. P. 21.         “On
12
      motion o r on its own , the court may at any time, on just
13
      terms, a dd or drop a party.          The court may also s ever any
14
15    claim ag ainst a part y.” Id.; see also Direc TV, In c. v.

16    Leto, 46 7 F.3d 842, 845 (3d Cir. 2006) (upon a finding of

17    misjoind er, a court “has two remedial options: (1 )
18    misjoine d parties ma y be dropped ‘on such terms as are
19
      just’; o r (2) any claims against misjoined partie s ‘ma y
20
      be sever ed and proce eded with separat ely.”).
21
            Here, Fe deral Defend ants suggest that the appropr iate
22
23    course o f action is dismissal of all claims again st all

24    Defendan ts, except t he first one named in the cap tion to

25    the Comp laint.      This is an accepted practice unde r Rule
26    21.    See Direc TV v. Armellino, 216 F.R.D. 2 40, 24 1
27
      (E.D.N.Y . 2003)(dism issing without prejudice all claims
28
                                           20
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1     against all but the first named defendant).                Fede ral
2     Defendan ts argue dis missal without prejudice is
3
      appropri ate here “be cause this case is at the ver y early
4
      stages o f litigation and no substanti ve prejudice would
5
      result.. ..”     Doc. 79 at 10.
6
            Here, di smissal woul d be wasteful of the parties’ and
7
8     judicial resources.         The SAC has been filed and s erved,

9     and judi cial resourc es have been invested into re viewing

10    the clai ms against a ll defendants.            It is more re asonable
11    to permi t each set o f claims to proceed as a sepa rate
12
      lawsuit, all of whic h can be managed in a coordin ated
13
      proceedi ng.     T he cla ims a gainst FWS regardi ng the OCAP
14
      BiOp hav e already be en consolidated with the othe r del ta
15
      smelt ca ses.      The cl aims against EPA, MARAD, and FEMA
16
17    shall be severed and assigned three n ew cas e numb ers.

18    Because there are li nkages between th e clai ms, the thr ee
19    new case s will be co ordinated for case management
20
      purposes and a singl e scheduling conference will be held
21
      in all t hree cases w ith a view to achieving judic ial
22
      efficien cy and econo my.
23
            Plaintif fs’ re quest to delay decision on severanc e
24
25    until th ere is furth er factual development in the se cases

26    is DENIE D, as doing so will permit the fili ng of multi ple

27    administ rative recor ds under one docket and trigg er
28
                                           21
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1     related administrati ve burdens.
2
                                  IV. CONCLUSION
3
            For the reasons set forth above, Federal Defendan ts’
4
5     motion t o sever is G RANTED.         The claims aga inst F WS

6     regardin g the OCAP B iOp shall be fully cons olidat ed wi th

7     the othe r delta smel t cases for all purposes incl uding
8     trial, w hile the cla ims against EPA, MARAD, and F EMA will
9
      be sever ed and assig ned three new, consecut ive ca se
10
      numbers.     The three new cases will be coordinated for
11
      case man agemen t purposes, and the captions shall indicate
12
      that eac h is coordin ated with the others.
13
14
15    SO ORDER ED
      Dated: November 17, 2009
16
                                        /s/ Oliver W. Wanger
17                                         Oliver W. W anger
18                                    United State s Dist rict Judge

19
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                                           22
